                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              ANDERSON DIVISION




 PICKENS COUNTY BRANCH OF NAACP, et al.;

                       Plaintiffs,

                v.                                          Case No. 8:23-cv-01736-BHH

 SCHOOL DISTRICT OF PICKENS COUNTY;                         NOTICE OF APPEAL
                       Defendant.




       Plaintiffs, by and through undersigned counsel, respectfully notify the Court of their

intent appeal the Court’s order denying Plaintiffs’ Motion for Preliminary Injunction in the

United States Court of Appeals for the Fourth Circuit. Plaintiffs’ Motion for Preliminary

Injunction is ECF No. 7, and the Court’s text order denying the motion is found at ECF No. 17.


Dated: August 16, 2023

Respectfully submitted,

ACLU OF SOUTH CAROLINA                               NAACP

/s Allen Chaney                                      Janette Louard*
_______________                                      Anna Kathryn Barry**
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* Pro hac vice applications to be filed
** Admitted pro hac vice


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